       Case 10-16267-SSM               Doc 43       Filed 08/25/10 Entered 08/25/10 17:46:07                       Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF VIRGINIA
                                                   Alexandria
                                                 ___________________ Division
In re Larry L. LeHew, Jr.
       Mary B. LeHew                                                              Case No.    10-16267-SSM
                                             Debtor(s)
                                                                                  Chapter     7

                                               AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
      ___       Involuntary/Voluntary Petition [Specify reason for amendment:_________________________________________]
                Check if applicable: ___ Soc. Sec. No. amended. [If applicable: An original, signed Official Form 21 was
                mailed/hand-delivered to the Clerk’s Office on__________________.*]
      ___       Summary of Schedules (Includes Statistical Summary of Certain Liabilities and Related Data)
      ___       Schedule A - Real Property
      ___       Schedule B - Personal Property
      ___       Schedule C - Property Claimed as Exempt
      ___       Schedule D, E, or F, and/or List of Creditors or Equity Holders – REQUIRES COMPLIANCE WITH LOCAL
                RULE 1009-1. ( $26.00 fee required if adding or deleting pre-petition creditors, changing amounts owed or
                classification of debt.)     Check applicable statement(s):
                                   ___       Creditor(s) added           ___ Creditor(s) deleted
                                   ___       Change in amounts owed or classification of debt
                                   ___       No pre-petition creditors added/deleted, or amounts owed or classification of debt
                                             changed. [Docket: Amended Schedule(s) and/or Statement(s), List(s)-NO
                                             FEE)
                                   ___       Post-petition creditors added (Schedule of Unpaid Debts)
                REMINDER: Conversion of Chapter 13 to Chapter 7 – only file Schedule of Unpaid Debts.
      ___       Schedule G - Executory Contracts and Unexpired Leases
      ___       Schedule H – Codebtors
      ___       Schedule I - Current Income of Individual Debtor(s)
      ___       Schedule J - Current Expenditures of Individual Debtor(s)

[NOTE: The form “NOTICE TO CREDITOR(S) (RE AMENDMENT)” is still required when adding or deleting creditors.
*Amendment of debtor(s) Social Security Number requires that a hard copy of this cover sheet together with a completed
Official Form 21 – Statement of Social Security Number(s) be submitted to the Clerk’s Office for entry of the amended Social
Security Number into the Court’s database. ]

         ___      Statement of Financial Affairs

         ___      Chapter 7 Individual Debtor’s Statement of Intention

         ___      Chapter 11 List of Equity Security Holders

         ___      Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims

         ___      Disclosure of Compensation of Attorney for Debtor

         ___      Other: ______________________________________________________________________________________

                                  NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the United States Trustee, the trustee in this case, and to any and all entities
affected by the amendment as follows: __________________________________________________________________________
_________________________________________________________________________________________________________.
        08/25/10
Date: _________________________
                                                            /s/ John C. Morgan
                                                            _____________________________________________
                                                            Attorney for Debtor(s) [or Pro Se Debtor(s)]
                                                            State Bar No.:      30148
                                                            Mailing Address:    98  Alexandria Pike, Suite 10
                                                                                Warrenton, VA 20186
[amendcs ver. 10/2007]                                      Telephone No.: 540-349-3232
                                                                                                            Case 10-16267-SSM                   Doc 43       Filed 08/25/10 Entered 08/25/10 17:46:07                                 Desc Main
                                                                                                           B7 (Official Form 7) (04/10)
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                                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                                               Eastern District of Virginia

                                                                                                        In Re Larry L. LeHew, Jr. & Mary B. LeHew                                                            Case No. 10-16267
                                                                                                                                                                                                                          (if known)


                                                                                                                                                   STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                              the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                              information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                              filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                              provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                              indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                              or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                              R. Bankr. P. 1007(m).

                                                                                                                        Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                              must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                              additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                              case number (if known), and the number of the question.

                                                                                                                                                                           DEFINITIONS

                                                                                                                         "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                              individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                              the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                              the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                              employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                              in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                         "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                              their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                              percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                              such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                         1. Income from employment or operation of business

                                                                                                                         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                             None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                         two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                         the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                         of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                         under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                         spouses are separated and a joint petition is not filed.)

                                                                                                                                 AMOUNT                                                SOURCE

                                                                                                                  2010(db)            0.00

                                                                                                                  2009(db)            0.00

                                                                                                                  2008(db)            0.00



                                                                                                                  2010(jdb)57,563.20           CIA
                                                                                                                                               Langley, VA

                                                                                                                  2009(jdb)109,403.96          CIA
                                                                                                                                               Langley, VA
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                                                                                                                   AMOUNT                                               SOURCE (if more than one)

                                                                                                            2008(jdb)102,611.00             CIA
                                                                                                                                            Langley, VA




                                                                                                                   2.   Income other than from employment or operation of business

                                                                                                        None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                   of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                   particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                   12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                   separated and a joint petition is not filed.)

                                                                                                                    AMOUNT                                                                SOURCE

                                                                                                            2010 (db)         7,966.00             Retirement

                                                                                                            2009(db)        13,656.00              Retirement
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                                                                                                                   3. Payments to creditors
                                                                                                        None

                                                                                                                   Complete a. or b., as appropriate, and c.
                                                                                                                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                   goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                   this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                   Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                   or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                   counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                                  DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                       PAYMENTS                                PAID                  OWING




                                                                                                        None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                   within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                   constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
                                                                                                                   (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                   alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                   (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                        *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                         NAME AND ADDRESS OF CREDITOR                                  DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                          AND RELATIONSHIP TO DEBTOR                                   PAYMENTS                                PAID                  OWING


                                                                                                        Gary Spurlock                                         04/30/10                                   20,320.00             460,000.00
                                                                                                        40431 Featherbed Lane
                                                                                                        Lovettsville, VA 20180
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                                                                                                         NAME AND ADDRESS OF CREDITOR               DATES OF            AMOUNT      AMOUNT STILL
                                                                                                          AND RELATIONSHIP TO DEBTOR                PAYMENTS              PAID         OWING


                                                                                                        American Home Mtg Servicing           07/01/10                 1,114.00   131,250.00
                                                                                                        11104 Menaul Blvd NE
                                                                                                        Albuquerque, NM 87112

                                                                                                        GMAC Mortgage                         07/01/10                 1,375.00   154,037.00
                                                                                                        3451 Hammond Ave
                                                                                                        Waterloo, IA 50702

                                                                                                        Suntrust Mortgage                     07/01/10                 1,066.00   132,000.00
                                                                                                        1001 Semmes Ave
                                                                                                        Richmond, VA 23224

                                                                                                        GMAC Mortgage                         07/01/10                   898.00    97,032.00
                                                                                                        3451 Hammond Ave
                                                                                                        Waterloo, IA 50702

                                                                                                        Suntrust Mortgage                     07/01/10                 1,034.00   115,200.00
                                                                                                        1001 Semmes Ave
                                                                                                        Richmond, VA 23224

                                                                                                        Bac Home Loans Servicing              07/01/10                   693.00    84,000.00
                                                                                                        450 American St
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                                                                                                        Simi Valley, CA 93065

                                                                                                        Chase Mtg                             07/01/10                 1,133.00   124,495.00
                                                                                                        PO Box 24696
                                                                                                        Columbus, OH 43224

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10        621.00    19,500.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10      2,826.00   118,400.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10      3,057.00   119,886.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10      2,736.00   120,000.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10      3,198.00   131,877.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Bac Home Loans Servicing              05/10, 06/10, 07/10      1,518.00    68,618.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        Onewest Bank                          05/10, 06/10, 07/10      1,821.00    67,308.00
                                                                                                        6900 Beatrice Drive
                                                                                                        Kalamazoo, MI 49003
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                                                                                                          AND RELATIONSHIP TO DEBTOR                PAYMENTS              PAID         OWING


                                                                                                        GMAC Mortgage                         05/10, 06/10, 07/10      2,184.00   104,604.00
                                                                                                        3451 Hammond Ave
                                                                                                        Waterloo, IA 50702

                                                                                                        GMAC Mortgage                         05/10, 06/10, 07/10      2,745.00   124,814.00
                                                                                                        3451 Hammond Ave
                                                                                                        Waterloo, IA 50702

                                                                                                        Specialized Loan Servicing            05/10, 06/10, 07/10      3,084.00   128,749.00
                                                                                                        8742 Lucent Blvd Ste 300
                                                                                                        Highlands Ranch, CO 80129

                                                                                                        Specialized Loan Servicing            05/10, 06/10, 07/10        621.00    19,500.00
                                                                                                        8742 Lucent Blvd Ste 300
                                                                                                        Highlands Ranch, CO 80129

                                                                                                        Specialized Loan Servicing            05/10, 06/10, 07/10      3,765.00   156,961.00
                                                                                                        8742 Lucent Blvd Ste 300
                                                                                                        Highlands Ranch, CO 80129

                                                                                                        Flagstar Bank                         05/10, 06/10, 07/10      2,667.00   119,931.00
                                                                                                        5151 Corporate Dr
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                                                                                                        Troy, MI 48098

                                                                                                        First Horizon Home Loans              05/10, 06/10, 07/10      2,634.00    90,000.00
                                                                                                        PO Box 630148
                                                                                                        Irving, TX 75063

                                                                                                        American Home Mtg Servicing           05/10, 06/10, 07/10      1,575.00    53,053.00
                                                                                                        11104 Menaul Blvd NE
                                                                                                        Albuquerque, NM 87112

                                                                                                        Suntrust Mortgage                     05/10, 06/10, 07/10      1,842.00    70,000.00
                                                                                                        1001 Semmes Ave
                                                                                                        Richmond, VA 23224

                                                                                                        Suntrust Mortgage                     05/10, 06/10, 07/10      3,498.00   125,910.00
                                                                                                        1001 Semmes Ave
                                                                                                        Richmond, VA 23224

                                                                                                        Suntrust Mortgage                     05/10, 06/10, 07/10      2,880.00   124,000.00
                                                                                                        1001 Semmes Ave
                                                                                                        Richmond, VA 23224

                                                                                                        Chase Mtg                             05/10, 06/10, 07/10      1,578.00   127,980.00
                                                                                                        PO Box 24696
                                                                                                        Columbus, OH 43224

                                                                                                        Jay Stekman                           05/10, 06/10, 07/10      2,088.00    84,000.00
                                                                                                        301 Reuben Circle
                                                                                                        Martinsburg, WV 25401

                                                                                                        James Orndorff                        05/10, 06/10, 07/10      2,133.00    80,000.00
                                                                                                        361 Crestview Drive
                                                                                                        Martinsburg, WV 25401
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                                                                                                         NAME AND ADDRESS OF CREDITOR                           DATES OF                           AMOUNT              AMOUNT STILL
                                                                                                          AND RELATIONSHIP TO DEBTOR                            PAYMENTS                             PAID                 OWING


                                                                                                        Bac Home Loans Servicing                       05/10, 06/10, 07/10                       3,201.00           128,857.00
                                                                                                        450 American St
                                                                                                        Simi Valley, CA 93065

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       1,752.00             59,002.82
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       2,598.00             82,821.42
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       5,178.00           150,554.27
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       3,300.00           101,817.43
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       7,545.00           213,047.18
                                                                                                        PO Box 1847
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                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       3,789.00           120,603.97
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        BB & T                                         05/10, 06/10, 07/10                       2,928.00           114,996.35
                                                                                                        PO Box 1847
                                                                                                        Wilson, NC 27894

                                                                                                        Aurora Loan Services                           05/10, 06/10, 07/10                       7,008.00           609,758.00
                                                                                                        10350 Park Meadows Dr St
                                                                                                        Littleton, CO 80124

                                                                                                        None

                                                                                                               c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                               for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                               and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                           DATES OF                      AMOUNT PAID           AMOUNT STILL
                                                                                                          AND RELATIONSHIP TO DEBTOR                            PAYMENTS                                               OWING

                                                                                                        Larry LeHew, Sr.                                  $1,062.36 Monthly from               8,498.88               50,000.00
                                                                                                        P.O. Box 1564                                     07/01/09 to 02/048,498.88
                                                                                                        Front Royal, VA 22630
                                                                                                        Relationship: Father
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                                                                                                                4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                        None    a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                and a joint petition is not filed.)


                                                                                                         CAPTION OF SUIT                NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                        AND CASE NUMBER                                                            AGENCY AND LOCATION                          DISPOSITION


                                                                                                        None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF                                        DATE OF                                        DESCRIPTION AND
                                                                                                         PERSON FOR WHOSE BENEFIT                                     SEIZURE                                       VALUE OF PROPERTY
                                                                                                           PROPERTY WAS SEIZED


                                                                                                                5.   Repossessions, foreclosures and returns
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                                                                                                        None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                            NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                           ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                        CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                                6. Assignments and Receiverships

                                                                                                        None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                joint petition is not filed.)


                                                                                                                NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                               ADDRESS OF                                                                                       ASSIGNMENT
                                                                                                                 ASSIGNEE                                                                                      OR SETTLEMENT
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                                                                                                        None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                the spouses are separated and a joint petition is not filed.)


                                                                                                                NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                               ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                               CUSTODIAN                               & NUMBER



                                                                                                                7.   Gifts

                                                                                                        None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                unless the spouses are separated and a joint petition is not filed.)


                                                                                                               NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                              ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                        PERSON OR ORGANIZATION
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                                                                                                                8.   Losses

                                                                                                        None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                separated and a joint petition is not filed.)


                                                                                                           DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                            AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                           OF PROPERTY                                   INSURANCE, GIVE PARTICULARS


                                                                                                                9.   Payments related to debt counseling or bankruptcy

                                                                                                        None         List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                 NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                                     OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                          OTHER THAN DEBTOR                                VALUE OF PROPERTY

                                                                                                        John C. Morgan                              07/10                                            $3,950.00
                                                                                                        John Carter Morgan Jr., PLLC
                                                                                                        98 Alexandria Pike, Suite 10
                                                                                                        Warrenton VA 20186
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                                                                                                                  10. Other transfers

                                                                                                        None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                  of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                  of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                  whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                               RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                 VALUE RECEIVED


                                                                                                                  b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                  to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                        None

                                                                                                               NAME OF TRUST OR OTHER DEVICE                               DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                          TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                          VALUE OF PROPERTY OR
                                                                                                                                                                                                       DEBTOR'S INTEREST IN PROPERTY

                                                                                                          Berkeley 106 N Maple Ave Trust                               2008                            106 North Maple Ave.
                                                                                                                                                                                                       Martinsburg, WV
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                                                                                                                                                                                                       Value $39,840.00

                                                                                                          Berkeley 109 Daniel St Trust                                 2009                            109 Daniel Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $46,980

                                                                                                          Berkeley 113 Dailey St Trust                                 2008                            113 Dailey Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $46,560

                                                                                                          Berkeley 114 N Maple Ave Trust                               2008                            114 North Maple Ave
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $48,120

                                                                                                          Berkeley 112 N Maple Ave Trust                               2008                            112 North Maple Ave
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $48,060

                                                                                                          Berkeley 118 N Maple Ave Trust                               2008                            118 North Maple Ave
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $55,260

                                                                                                          Berkeley 120 Valley St Trust                                 2008                            120 Valley Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $41,400

                                                                                                          Berkeley 122 Valley St Trust                                 2008                            122 Valley Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $34,260

                                                                                                          Berkeley 120 Woodbury Ave Trust                              2008                            120 Woodbury Ave
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $51,660
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                                                                                                            NAME OF TRUST OR OTHER DEVICE                DATE(S) OF          AMOUNT OF MONEY OR
                                                                                                                                                        TRANSFER(S)            DESCRIPTION AND
                                                                                                                                                                            VALUE OF PROPERTY OR
                                                                                                                                                                         DEBTOR'S INTEREST IN PROPERTY

                                                                                                          Berkeley 128 Pennsylvania Trust             2008               128 Pennsylvania
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $48,060

                                                                                                          Berkeley 317 Hess Ave Trust                 2008               317 Hess Ave
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $52,560

                                                                                                          Berkeley 427 Porter Ave Trust               2008               427 Porter Ave
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $45,420

                                                                                                          Berkeley 318 West John St Trust             2008               318 West John Street
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $64,200

                                                                                                          Berkeley 330 Kentucky Ave Trust             2008               330 Kentucky Ave
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $48,120
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                                                                                                          Berkeley 409 West John St Trust             2008               409 West John Street
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $64,920

                                                                                                          Berkeley 419 Virginia Ave Trust             2008               419 Virginia Ave.
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $59,880

                                                                                                          Berkeley 422 Kentucky Ave Trust             2008               422 Kentucky Ave.
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $46,980

                                                                                                          Berkeley 430 East Race St Trust             2008               430 East Race Street
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $58,440

                                                                                                          Berkeley 500 Jasmine Lane Trust             2008               500 Jasmine Lane
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $68,640

                                                                                                          Berkeley 506 East Race St Trust             2008               506 East Race street
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $56,520

                                                                                                          Berkeley 527 West John St Trust             2008               527 West John Street
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $60,960

                                                                                                          Berkeley 530 Virginia Ave Trust             2008               530 Virginia Ave.
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $45,180

                                                                                                          Berkeley 610 E Molar Ave Trust              2008               610 Molar Ave.
                                                                                                                                                                         Martinsburg, WV
                                                                                                                                                                         Value $63,780
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                                                                                                               NAME OF TRUST OR OTHER DEVICE                               DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                          TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                          VALUE OF PROPERTY OR
                                                                                                                                                                                                       DEBTOR'S INTEREST IN PROPERTY

                                                                                                          Berkeley 613 Buxton St Trust                                 2008                            613 Buxton Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $38,220

                                                                                                          Berkeley 624 West Race Street Trust                          2008                            624 West Race Street
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $50,100

                                                                                                          Berkeley 804 New York Ave Trust                              2008                            804 New York Ave.
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $54,480

                                                                                                          Berkeley 810 West King StTrust                               2008                            810 West King St.
                                                                                                                                                                                                       Martinsburg, WV
                                                                                                                                                                                                       Value $56,520


                                                                                                                  11. Closed financial accounts

                                                                                                        None            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
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                                                                                                                  were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                  Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                  accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                  institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                  instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                  and a joint petition is not filed.)


                                                                                                                 NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                                ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                                INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                        OR CLOSING


                                                                                                                  12. Safe deposit boxes

                                                                                                        None               List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                  valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                  chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                  is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                    NAME AND                       NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                                 ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                               OR OTHER DEPOSITORY                     OR DEPOSITORY                                                SURRENDER, IF ANY
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                                                                                                                 13. Setoffs

                                                                                                        None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                 preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                 information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                 and a joint petition is not filed.)


                                                                                                               NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                              OF                                      OF
                                                                                                                                                                            SETOFF                                  SETOFF

                                                                                                                 14. Property held for another person

                                                                                                        None          List all property owned by another person that the debtor holds or controls.


                                                                                                                   NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                                 15. Prior address of debtor
                                                                                                        None
                                                                                                                        If the debtor has moved within the three years immediately preceding the commencement of this case, list all
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                                                                                                                 premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                 joint petition is filed, report also any separate address of either spouse.


                                                                                                                ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY



                                                                                                                 16. Spouses and Former Spouses
                                                                                                        None
                                                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                 Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                 eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                 any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                               NAME


                                                                                                                 17. Environmental Sites

                                                                                                                 For the purpose of this question, the following definitions apply:

                                                                                                                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                 releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                 other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                 wastes, or material.

                                                                                                                           "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                           presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                           "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                           hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                        None
                                                                                                                 a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                 unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                 governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                 SITE NAME                        NAME AND ADDRESS                          DATE OF                  ENVIRONMENTAL
                                                                                                                AND ADDRESS                     OF GOVERNMENTAL UNIT                        NOTICE                        LAW
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                                                                                                                b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                        None

                                                                                                                SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                               AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                                c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                        None    was a party to the proceeding, and the docket number.


                                                                                                                 NAME AND ADDRESS                               DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                               OF GOVERNMENTAL UNIT


                                                                                                                18. Nature, location and name of business

                                                                                                        None    a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                preceding the commencement of this case.
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                                                                                                                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                         NAME           LAST FOUR DIGITS OF                   ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                                        SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                         OTHER INDIVIDUAL
                                                                                                                          TAXPAYER-I.D. NO.
                                                                                                                        (ITIN)/ COMPLETE EIN
                                                                                                        LeHew Rocky Top           XX-XXXXXXX                20711 Blue Ridge                 Property                    04/09/2007 -
                                                                                                        Management, LLC                                     Mountain Rd.                     Management                  Present
                                                                                                                                                            Paris, VA 20130

                                                                                                        LeHew Rocky Top           unknown                   20711 Blue Ridge                 Property                    11/12/2003 -
                                                                                                        Properties, LLC                                     Mountain Rd.                     Management                  Present
                                                                                                                                                            Paris, VA 20130

                                                                                                        Ridge Top I, LLC          unknown                   20711 Blue Ridge                 Property                    03/09/2007 -
                                                                                                                                                            Mountain Rd.                     Management                  06/14/2010
                                                                                                                                                            Paris, VA 20130

                                                                                                        Ridge Top II, LLC         unknown                   20711 Blue Ridge                 Property                    03/09/2007 -
                                                                                                                                                            Mountain Rd.                     Management                  06/14/2010
                                                                                                                                                            Paris, VA 20130

                                                                                                        Ridge Top III, LLC        unknown                   20711 Blue Ridge                 Property                    03/09/2007 -
                                                                                                                                                            Mountain Rd.                     Management                  06/14/2010
                                                                                                                                                            Paris, VA 20130
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                                                                                                          NAME            LAST FOUR DIGITS OF                  ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                          SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                           OTHER INDIVIDUAL
                                                                                                                            TAXPAYER-I.D. NO.
                                                                                                                          (ITIN)/ COMPLETE EIN
                                                                                                        Ridge Top IV, LLC           unknown                 20711 Blue Ridge                   Property                     03/09/2007 -
                                                                                                                                                            Mountain Rd.                       Management                   06/14/2010
                                                                                                                                                            Paris, VA 20130

                                                                                                        Ridge Top V, LLC            unknown                 20711 Blue Ridge                   Property                     03/09/2007 -
                                                                                                                                                            Mountain Rd.                       Management                   06/14/2010
                                                                                                                                                            Paris, VA 20130

                                                                                                        Ridge Top VI, LLC           unknown                 20711 Blue Ridge                   Property                     03/09/2007 -
                                                                                                                                                            Mountain Rd.                       Management                   06/22/2010
                                                                                                                                                            Paris, VA 20130


                                                                                                                  b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                  U.S.C. § 101.
                                                                                                        None

                                                                                                                  NAME                                                                                ADDRESS
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                                                                                                                The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
                                                                                                        debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
                                                                                                        officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
                                                                                                        partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                                                 (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                                                        business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                                                        not been in business within those six years should go directly to the signature page.)




                                                                                                                  19. Books, record and financial statements

                                                                                                        None      a.     List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                                                                                                                  bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                                                         NAME AND ADDRESS                                                                DATES SERVICES RENDERED


                                                                                                        Larry LeHew
                                                                                                        20711 Blue Ridge Mountain Rd.
                                                                                                        Paris, VA 20130
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                                                                                                        None      b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                                                                                                                  have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                                                  NAME                                               ADDRESS                              DATES SERVICES RENDERED



                                                                                                        None      c.    List all firms or individuals who at the time of the commencement of this case were in possession of the books
                                                                                                                  of account and records of the debtor. If any of the books of account and records are not available, explain.


                                                                                                                  NAME                                                  ADDRESS


                                                                                                        Larry LeHew                                              20711 Blue Ridge Mountain Rd.
                                                                                                                                                                 Paris, VA 20130

                                                                                                        None      d.     List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                                                  financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


                                                                                                               NAME AND ADDRESS                                                      DATE
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                                                                                                                                                                                    ISSUED


                                                                                                                  20. Inventories

                                                                                                        None      a.     List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                                                  taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                                           DATE OF INVENTORY                       INVENTORY SUPERVISOR                        DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                                                (Specify cost, market or other basis)


                                                                                                        None      b.      List the name and address of the person having possession of the records of each of the two inventories
                                                                                                                  reported in a., above.


                                                                                                                 DATE OF INVENTORY                                                NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                                                         INVENTORY RECORDS


                                                                                                                  21. Current Partners, Officers, Directors and Shareholders

                                                                                                        None      a.   If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                                                 NAME AND ADDRESS                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST
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                                                                                                        None      b.    If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                                                                                                                  or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                                 NAME AND ADDRESS                                   TITLE                             NATURE AND PERCENTAGE OF
                                                                                                                                                                                                          STOCK OWNERSHIP


                                                                                                                  22. Former partners, officers, directors and shareholders

                                                                                                        None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
                                                                                                                  preceding the commencement of this case.


                                                                                                                     NAME                                           ADDRESS                               DATE OF WITHDRAWAL



                                                                                                        None      b.    If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                                                                                                                  within one year immediately preceding the commencement of this case.


                                                                                                               NAME AND ADDRESS                                            TITLE                          DATE OF TERMINATION
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                                                                                                                  23. Withdrawals from a partnership or distribution by a corporation

                                                                                                        None          If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                                                  including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
                                                                                                                  during one year immediately preceding the commencement of this case.


                                                                                                                 NAME & ADDRESS OF                             DATE AND PURPOSE                             AMOUNT OF MONEY OR
                                                                                                               RECIPIENT, RELATIONSHIP                          OF WITHDRAWAL                              DESCRIPTION AND VALUE
                                                                                                                      TO DEBTOR                                                                                OF PROPERTY


                                                                                                                  24. Tax Consolidation Group

                                                                                                        None         If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of
                                                                                                                  any consolidated group for tax purposes of which the debtor has been a member at any time within the six-year
                                                                                                                  period immediately preceding the commencement of the case.


                                                                                                                 NAME OF PARENT CORPORATION                                   TAXPAYER IDENTIFICATION NUMBER (EIN)
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                                                                                                                                  25. Pension Funds

                                                                                                                     None            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
                                                                                                                                  which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
                                                                                                                                  immediately preceding the commencement of the case.


                                                                                                                                       NAME OF PENSION FUND                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                                                                                                                              *    *     *     *    *     *


                                                                                                                     [If completed by an individual or individual and spouse]

                                                                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                     thereto and that they are true and correct.
                                                                                                                    10-16267                                                                                       /s/ Larry L. LeHew, Jr.
                                                                                                        Date                                                                            Signature
                                                                                                                                                                                        of Debtor                  LARRY L. LEHEW, JR.
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                                                                                                        Date        10-16267                                                            Signature                  /s/ Mary B. LeHew
                                                                                                                                                                                        of Joint Debtor            MARY B. LEHEW

                                                                                                                                                                                0 continuation sheets attached
                                                                                                                                                                              _____


                                                                                                                            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                        compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                        rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                        have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                        in that section.




                                                                                                        Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                        If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                        partner who signs this document.




                                                                                                        Address

                                                                                                        X
                                                                                                        Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                        not an individual:

                                                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                        A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                        or imprisonment or both. 18 U.S.C. §156.
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                           United States Bankruptcy Court
                                    Eastern District of Virginia



 In re:     Larry L. LeHew, Jr                                       Case No: 10-16267-SSM
            Mary B. LeHew


                     Debtor(s)                                       Chapter:    7


  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


 I certify under penalty of perjury that the foregoing is true and correct.




 Date:    08/25/10                                   Signature:   /s/ Larry L. LeHew, Jr
                                                                  Debtor

 Date:    08/25/10                                   Signature: __/s/ Mary B. LeHew
                                                                 Debtor



 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 year, or
 both. 18 U.S.C. §§ 152 and 3571
